Case 2:21-cv-20706-MEF-ESK Document 19 Filed 11/11/22 Page 1 of 2 PageID: 180




                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERSEY


  John Doe.
                                                          Case No. 2:21-cv-20706
                 Plaintiff,

          v.

 Baila Sebrow

                 Defendant

 AFFIDAVIT OF SERVICES PURSUANT TO UNITED STATE MAGISTRATE JUDGE
              EDWARD S. KIEL’S NOVEMBER 10, 2022 ORDER

        1.      I am a partner at the law firm of Daniel Szalkiewicz & Associates, P.C, and make

this declaration pursuant to the Court’s November 10, 2022 Order.

        2.      I was admitted to practice in the States of New York and New Jersey in 2010 and

have practiced continuously since then. Together with Cali Madia, we have been the partners

involved in this lawsuit and we have represented Plaintiff in all phases of this litigation.

        3.      I have been responsible for reviewing the time records in this case from its

inception to the present. I am familiar with the activities that the attorneys and staff have

performed in representing the Plaintiff. I am also familiar with the time and cost of those

activities.

        4.      Attached as Exhibit “1” to this declaration are true and correct copies of time

entries for services rendered in this matter by myself relating to: the preparation of the proposed

joint discovery plan, preparation for the conference, and attendance at the conference. These

entries represent contemporaneous billing records for this matter. The time entries contain

sufficient detail of the task performed to show that the amount of time expended for the work


                                                  1
Case 2:21-cv-20706-MEF-ESK Document 19 Filed 11/11/22 Page 2 of 2 PageID: 181




described was reasonable. Moreover, given my role in the case, familiarity with the work

performed, and my experience, as further described below, I have personal knowledge that the

amount of time expended was reasonable.

        5.      As described in detail below, the lodestar for the work by, through the drafting of

this certification, is $990.00.

        6.      Over the course of this litigation, our customary hourly billing rate is $500.00.

However, we have agreed to reduce our rate to $450.00 for the Plaintiff given the level of

harassment he faced from the defendant.

        7.      The rates charged by each attorney were the customary and normal rates charged

to other clients at the times each of the services was performed. Because our billing rates are

based on market conditions, I believe that the rates we charged reflected rates for similarly

qualified attorneys in New York and New Jersey.

        8.      Both the hours spent by us and the rates charged for those hours are reasonable

and were necessary for the representation of Plaintiff in this case. Because the rates and number

of hours were reasonable, the total lodestar amount is also reasonable.

        9.      Had we not been representing Plaintiff in this matter, our attorneys would have

been fully utilized on other billable client work.

        I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief.



Dated: November 11, 2022
       New York, New York
                                                              ___/s/Daniel S. Szalkiewicz___
                                                              By: Daniel S. Szalkiewicz, Esq.




                                                     2
